Case 18-18455-ref       Doc 29-1 Filed 04/03/19 Entered 04/03/19 17:02:09                      Desc
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  IN RE:
  Elfrido Mateo, aka Elfrido Manuel Mateo             Case No. 18-18455 REF
  Lizette Mateo, aka Lizette LaTorre
                                     Debtors          Chapter 7

  BANK OF AMERICA, N.A.
                                     Movant
         v.
  Elfrido Mateo, aka Elfrido Manuel Mateo
  Lizette Mateo, aka Lizette LaTorre
  and
  Lynn E. Feldman, Trustee
                                     Respondents
 19-0019
                                                ORDER

 Regarding property located at: 622 N. 16th Street, Allentown, PA 18102

           AND NOW, this        day of                , 2019, it is hereby ORDERED that the automatic
 stay of 11 U.S.C. §362(a) is hereby modified to permit, BANK OF AMERICA, N.A. and/or its
 successors and assigns to obtain all other Relief available under the Non-Bankruptcy law and its loan
 documents.
           It is further ORDERED, that relief granted by this order shall survive the conversion of this
 bankruptcy case to a case under any other Chapter of the Bankruptcy Code.
           It is further ORDERED, that Bankruptcy Rule 4001(a)(3) is not applicable and Movant is
 allowed to immediately proceed with foreclosure and all other relief available under the Non-
 Bankruptcy law.

                                                           ____________________________________
                                                           United States Bankruptcy Judge
Case 18-18455-ref           Doc 29-1 Filed 04/03/19 Entered 04/03/19 17:02:09   Desc
                                 Proposed Order Page 2 of 2
 Interested Parties:

 Elfrido Mateo
 Lizette Mateo
 616 N 16th St
 Allentown, PA 18102-2018

 David A. Vaida, Esquire
 137 N. 5th Street
 Allentown, PA 18102
 Attorney for Debtors

 Lynn E. Feldman, Esquire
 221 N. Cedar Crest Blvd.
 Allentown, PA 18104
 Trustee

 POWERS KIRN, LLC
 8 Neshaminy Interplex, Suite 215
 Trevose, PA 19053
 Attorneys for Movant
